        Case 2:17-cv-03401-JTM-MBN Document 1 Filed 04/12/17 Page 1 of 5



                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF LOUISIANA

                                                    :
IN RE: TAXOTERE (DOCETAXEL)                         :       MDL NO. 2740
PRODUCTS LIABILITY LITIGATION                       :
                                                    :       SECTION “N” (5)
                                                    :
THIS DOCUMENT RELATES TO:                           :       HON. KURT D. ENGELHARDT
                                                    :
PHYLLIS A. STACY
_________________________________                   :
                                                    :
                                                    :


                                  S HORT FORM COMPLAINT

        Plaintiff(s) incorporate by reference the Master Long Form Complaint and Jury Demand

filed in the above-referenced case on March 31, 2017. Pursuant to Pretrial Order No. 15, this

Short Form Complaint adopts allegations and encompasses claims as set forth in the Master

Long Form Complaint against Defendant(s).

        Plaintiff(s) further allege as follows:

1.           Plaintiff:

             Phyllis A. Stacy

2.           Spousal Plaintiff or other party making loss of independent/secondary claim (i.e., loss

             of consortium):



3.           Other type of Plaintiff and capacity (i.e., administrator, executor, guardian,

             conservator):



4.           Current State of Residence: Ohio

5.           State in which Plaintiff(s) allege(s) injury: Ohio



                                                        1
8103972 v3
        Case 2:17-cv-03401-JTM-MBN Document 1 Filed 04/12/17 Page 2 of 5



6.           Defendants (check all Defendants against whom a Complaint is made):

             a.     Taxotere Brand Name Defendants

                           A.     Sanofi S.A.

                           B.     Aventis Pharma S.A.

                           C.     Sanofi US Services Inc. f/k/a Sanofi-Aventis U.S. Inc.

                           D.     Sanofi-Aventis U.S. LLC

             b.     Other Brand Name Drug Sponsors, Manufacturers, Distributors

                           A.     Sandoz, Inc.

                           B.     Accord Healthcare, Inc.

                           C.     McKesson Corporation d/b/a McKesson Packaging

                           D.     Hospira Worldwide Inc.

                           E.     Hospira Inc

                           F.     Sun Pharma Global FZE

                           G.     Sun Pharma Global Inc.

                           H.     Caraco Pharmaceutical Laboratories Ltd.

                           I.     Pfizer Inc.

                           J.     Allergan Finance LLC f/k/a Actavis Inc.

                           K.     Actavis Pharma Inc.

                           L.     Other:




                                                 2
8103972 v3
        Case 2:17-cv-03401-JTM-MBN Document 1 Filed 04/12/17 Page 3 of 5



7.           Basis for Jurisdiction:

                      Diversity of Citizenship

                      Other (any additional basis for jurisdiction must be pled in sufficient detail as
                      required by the applicable Federal Rules of Civil Procedure):




8.           Venue:

             District Court and Division in which remand and trial is proper and where you might
             have otherwise filed this Short Form Complaint absent the direct filing Order entered
             by this Court:
                                                 Ohio Southern District Court




9.           Brand Product(s) used by Plaintiff (check applicable):

                      A.     Taxotere

                      B.     Docefrez

                      C.     Docetaxel Injection

                      D.     Docetaxel Injection Concentrate

                      E.     Unknown

                      F.     Other:




10.          First date and last date of use (or approximate date range, if specific dates are
             unknown) for Products identified in question 9:




                                                      3
8103972 v3
Case 2:17-cv-03401-JTM-MBN Document 1 Filed 04/12/17 Page 4 of 5
        Case 2:17-cv-03401-JTM-MBN Document 1 Filed 04/12/17 Page 5 of 5




14.          Name of Attorney(s), Bar Number(s), Law Firm(s), Phone Number(s),
             Email Address(es) and Mailing Address(es) representing Plaintiff(s):

                                           By: David F. Miceli
                                               (GA Bar No. 503900)
                                               Holly Nighbert
                                               (MO Bar No. 64548)
                                               SIMMONS HANLY CONROY
                                               One Court Street
                                               Alton, IL 62002
                                               Telephone (618) 259-2222
                                               Facsimile (618) 259-2251
                                               dmiceli@simmonsfirm.com
                                               hnighbert@simmonsfirm.com
                                               Attorneys for Plaintiff




                                                5
8103972 v3
